     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.1 Page 1 of 23



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 7

 8
                                     UNITED STATES DISTRICT COURT
 9                                 SOUTHERN DISTRICT OF CALIFORNIA

10   DENISE MARECHAL, Individually and On
                                                          Case No. '21CV0762 WQHNLS
11   Behalf of All Others Similarly Situated,

12                                   Plaintiff,

13                                                        CLASS ACTION
                              v.
14                                                        COMPLAINT FOR VIOLATIONS OF THE
     ACADIA PHARMACEUTICALS INC.,                         FEDERAL SECURITIES LAWS
15   STEPHEN R. DAVIS, and ELENA H.
     RIDLOFF,                                             DEMAND FOR JURY TRIAL
16
17                                   Defendants.

18          Plaintiff Denise Marechal (“Plaintiff”), individually and on behalf of all others similarly
19
     situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants, alleges
20
     the following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and
21
     information and belief as to all other matters, based upon, inter alia, the investigation conducted
22
     by and through Plaintiff’s attorneys, which included, among other things, a review of the
23

24   Defendants’ public documents, conference calls and announcements made by Defendants, United

25   States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press releases
26   published by and regarding Acadia Pharmaceuticals Inc. (“Acadia” or the “Company”), analysts’
27
     reports and advisories about the Company, and information readily obtainable on the Internet.
28
                                                      1
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.2 Page 2 of 23



 1   Plaintiff believes that substantial additional evidentiary support will exist for the allegations set

 2   forth herein after a reasonable opportunity for discovery.
 3
                                       NATURE OF THE ACTION
 4
            1.      This is a federal securities class action on behalf of a class consisting of all persons
 5
     and entities other than Defendants that purchased or otherwise acquired Acadia securities between
 6
     June 15, 2020 and April 4, 2021, both dates inclusive (the “Class Period”), seeking to recover
 7

 8   damages caused by Defendants’ violations of the federal securities laws and to pursue remedies

 9   under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and
10   Rule 10b-5 promulgated thereunder, against the Company and certain of its top officials.
11
            2.      Acadia is a biopharmaceutical company that focuses on the development and
12
     commercialization of small molecule drugs that address unmet medical needs in central nervous
13
     system disorders. The Company is developing pimavanserin as a treatment for dementia-related
14

15   psychosis and as an adjunctive treatment for schizophrenia, as well as an adjunctive treatment for

16   major depressive disorder.

17          3.      In April 2016, the U.S. Food and Drug Administration (“FDA”) approved
18   pimavanserin for the treatment of hallucinations and delusions associated with Parkinson’s disease
19
     psychosis.
20
            4.      In June 2020, Acadia submitted a supplemental New Drug Application (“sNDA”)
21
     with the FDA to expand pimavanserin’s label to include treatment for dementia-related psychosis
22

23   (the “pimavanserin sNDA”).

24          5.      Throughout the Class Period, Defendants made materially false and misleading
25   statements regarding the Company’s business, operations, and compliance policies. Specifically,
26
     Defendants made false and/or misleading statements and/or failed to disclose that: (i) the materials
27
     submitted in support of the pimavanserin sNDA contained statistical and design deficiencies; (ii)
28
                                                       2
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.3 Page 3 of 23



 1   accordingly, the pimavanserin sNDA lacked the evidentiary support that the Company had led

 2   investors to believe it possessed; (iii) the FDA was unlikely to approve the pimavanserin sNDA in
 3
     its present form; and (iv) as a result, the Company’s public statements were materially false and
 4
     misleading at all relevant times.
 5
             6.       On March 8, 2021, post-market, Acadia issued a press release providing a
 6
     regulatory update on the pimavanserin sNDA, disclosing “that the Company received a notification
 7

 8   from the [FDA] on March 3, 2021, stating that, as part of its ongoing review of the Company’s

 9   [sNDA], the FDA has identified deficiencies that preclude discussion of labeling and post-
10   marketing requirements/commitments at this time.” Acadia advised that “[t]he notification does
11
     not specify the deficiencies identified by the FDA and there has been no clarification by the FDA
12
     at this time.”
13
             7.       On this news, Acadia’s stock price fell $20.76 per share, or 45.35%, to close at
14

15   $25.02 per share on March 9, 2021.

16           8.       Then, on April 5, 2021, pre-market, Acadia issued a press release announcing that

17   the Company had received a Complete Response Letter (“CRL”) from the FDA indicating that the
18   pimavanserin sNDA could not be approved in its current form. Specifically, the press release
19
     stated that, “the [FDA Division of Psychiatry], in the CRL, cited a lack of statistical significance
20
     in some of the subgroups of dementia, and insufficient numbers of patients with certain less
21
     common dementia subtypes as lack of substantial evidence of effectiveness to support approval.”
22

23           9.       On this news, Acadia’s stock price fell $4.41 per share, or 17.23%, to close at

24   $21.18 per share on April 5, 2021.

25           10.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline
26
     in the market value of the Company’s securities, Plaintiff and other Class members have suffered
27
     significant losses and damages.
28
                                                       3
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.4 Page 4 of 23



 1                                     JURISDICTION AND VENUE

 2           11.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of
 3
     the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the
 4
     SEC (17 C.F.R. § 240.10b-5).
 5
             12.     This Court has jurisdiction over the subject matter of this action pursuant to 28
 6
     U.S.C. § 1331 and Section 27 of the Exchange Act.
 7

 8           13.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

 9   (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Acadia is headquartered in this Judicial District,
10   Defendants conduct business in this Judicial District, and a significant portion of Defendants’
11
     activities took place within this Judicial District.
12
             14.     In connection with the acts alleged in this complaint, Defendants, directly or
13
     indirectly, used the means and instrumentalities of interstate commerce, including, but not limited
14

15   to, the mails, interstate telephone communications, and the facilities of the national securities

16   markets.

17                                                 PARTIES
18           15.     Plaintiff, as set forth in the attached Certification, acquired Acadia securities at
19
     artificially inflated prices during the Class Period and was damaged upon the revelation of the
20
     alleged corrective disclosures.
21
             16.     Defendant Acadia is a Delaware corporation with principal executive offices
22

23   located at 12830 El Camino Real, Suite 400, San Diego, California 92130. The Company’s

24   common stock trades in an efficient market on the Nasdaq Global Select Market (“NASDAQ”)

25   under the ticker symbol “ACAD.”
26
             17.     Defendant Stephen R. Davis (“Davis”) has served as Acadia’s Chief Executive
27
     Officer at all relevant times.
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             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.5 Page 5 of 23



 1          18.     Defendant Elena H. Ridloff (“Ridloff”) has served as Acadia’s Executive Vice

 2   President and Chief Financial Officer at all relevant times.
 3
            19.     Defendants Davis and Ridloff are sometimes referred to herein as the “Individual
 4
     Defendants.”
 5
            20.     The Individual Defendants possessed the power and authority to control the
 6
     contents of Acadia’s SEC filings, press releases, and other market communications.            The
 7

 8   Individual Defendants were provided with copies of Acadia’s SEC filings and press releases

 9   alleged herein to be misleading prior to or shortly after their issuance and had the ability and
10   opportunity to prevent their issuance or to cause them to be corrected. Because of their positions
11
     with Acadia, and their access to material information available to them but not to the public, the
12
     Individual Defendants knew that the adverse facts specified herein had not been disclosed to and
13
     were being concealed from the public, and that the positive representations being made were then
14

15   materially false and misleading. The Individual Defendants are liable for the false statements and

16   omissions pleaded herein.

17                                  SUBSTANTIVE ALLEGATIONS
18                                              Background
19
            21.     Acadia is a biopharmaceutical company that focuses on the development and
20
     commercialization of small molecule drugs that address unmet medical needs in central nervous
21
     system disorders. The Company is developing pimavanserin as a treatment for dementia-related
22

23   psychosis and as an adjunctive treatment for schizophrenia, as well as an adjunctive treatment for

24   major depressive disorder.

25          22.     In April 2016, the FDA approved pimavanserin for the treatment of hallucinations
26
     and delusions associated with Parkinson’s disease psychosis.
27

28
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             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.6 Page 6 of 23



 1           Materially False and Misleading Statements Issued During the Class Period

 2          23.     The Class Period begins on June 15, 2020, when, pre-market, Acadia issued a press
 3
     release announcing the submission of the pimavanserin sNDA, stating, in relevant part:
 4
            SAN DIEGO--(BUSINESS WIRE)--ACADIA Pharmaceuticals Inc. (Nasdaq:
 5          ACAD) announced today that the company submitted a [sNDA] to the [FDA] to
            support a potential new indication for NUPLAZID® (pimavanserin) for the
 6          treatment of hallucinations and delusions associated with dementia-related
            psychosis (DRP). The FDA previously granted Breakthrough Therapy Designation
 7
            for pimavanserin for the treatment of hallucinations and delusions associated with
 8          DRP.

 9          “This is an important step forward for the approximately 2.4 million people in the
            U.S. who suffer from dementia-related hallucinations and delusions, representing a
10          large unmet need with currently no approved treatment options,” said Steve Davis,
11          ACADIA’s Chief Executive Officer. “Our pivotal HARMONY study showed a
            meaningful reduction of the symptoms and stabilization of psychosis and a nearly
12          three-fold reduction in the risk of relapse of psychosis for patients continuing
            treatment on pimavanserin compared to placebo. We look forward to working with
13          the FDA as it reviews our submission.”
14          The sNDA is supported by results from the pivotal Phase 3 HARMONY study,
15          which met its primary endpoint, demonstrating that pimavanserin significantly
            reduced the risk of relapse of psychosis by 2.8 fold compared to placebo (hazard
16          ratio = 0.353; one-sided p=0.0023). The sNDA also includes positive efficacy
            results from two additional placebo-controlled studies, both of which met their
17          respective primary endpoints: The Phase 2 (-019) study in patients with
            Alzheimer’s disease psychosis and the Phase 3 (-020) study in patients with
18          Parkinson’s disease psychosis. The sNDA includes a large safety and tolerability
19          database from completed and ongoing studies representing over 1500 patients with
            neurodegenerative disease.
20
            24.     On July 20, 2020, Acadia issued a press release announcing that the FDA had
21
     accepted the pimavanserin sNDA for filing. The press release stated, in relevant part:
22

23          “We are pleased that the FDA has accepted our sNDA for filing and we will be
            working closely with the FDA to facilitate completion of the review in a timely
24          manner,” said Steve Davis, ACADIA’s Chief Executive Officer. “If approved,
            NUPLAZID would be the first therapy indicated for the treatment of hallucinations
25          and delusions associated with dementia-related psychosis. We look forward to
            potentially bringing this important treatment advancement to patients, caregivers
26
            and physicians.”
27

28
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            CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.7 Page 7 of 23



 1          25.     On August 5, 2020, Acadia issued a press release announcing the Company’s

 2   second quarter 2020 financial results. The press release stated, in relevant part:
 3
            “In the first half of 2020 we drove robust growth of NUPLAZID®. With the FDA
 4          filing of our sNDA for dementia-related psychosis we are one step closer to
            potentially delivering the first and only approved treatment for this devastating
 5          condition,” said Steve Davis, ACADIA’s Chief Executive Officer. “Building upon
            the successful development of our PDP and DRP programs, our clinical team is
 6          focused on advancing our innovative early- and late-stage pipeline.”
 7
            26.     That same day, Acadia hosted an earnings call with investors and analysts to discuss
 8
     the Company’s second quarter 2020 results (the “2Q20 Earnings Call”). During the scripted
 9
     portion of the 2Q20 Earnings Call, Defendant Davis stated, in relevant part:
10

11          We’ve made important and significant progress on our 3 strategic pillars. As a
            reminder, this year, we are focused on driving the growth of NUPLAZID for
12          patients with Parkinson’s disease psychosis; delivering on the dementia-related
            psychosis opportunity, our second indication for NUPLAZID; and developing
13          innovative new treatments for unmet needs in CNS with 3 candidates in our early
            and late-stage development pipeline.
14

15                                                 ***

16          Our supplemental NDA for dementia-related psychosis was accepted for filing by
            the FDA with the PDUFA date of April 3, 2021. The filing of the application is an
17          important next step as DRP is a devastating and highly disruptive disease and
            represents a significant unmet need, not only for the patients but also for their
18          caregivers and family members. We are highly confident in both the efficacy and
19          safety data supporting our submission and look forward to continuing to work with
            the FDA to facilitate their review.
20
            27.     On August 6, 2020, Acadia filed a quarterly report on Form 10-Q with the SEC,
21
     reporting the Company’s financial and operating results for the quarter ended June 30, 2020 (the
22

23   “2Q20 10-Q”). The 2Q20 10-Q touted the pimavanserin sNDA, stating, in relevant part:

24          [W]e believe dementia-related psychosis (DRP), represents one of our most
            important opportunities for further exploration. In June 2020, we submitted a
25          [sNDA] for NUPLAZID for the treatment of hallucinations and delusions
            associated with DRP. In July 2020 the FDA notified us of acceptance of our sNDA
26
            with a PDUFA date of April 3, 2021. The FDA advised us that it has not identified
27          any potential review issues at this point in their evaluation and at this time they are
            not planning to hold an Advisory Committee meeting. The sNDA is supported by
28          results from the pivotal Phase 3 HARMONY study, which met its primary
                                                      7
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.8 Page 8 of 23



 1          endpoint, demonstrating that pimavanserin significantly reduced the risk of relapse
            of psychosis by 2.8 fold compared to placebo (hazard ratio = 0.353; one-sided
 2          p=0.0023). The sNDA also includes positive efficacy results from two additional
            placebo-controlled studies, both of which met their respective primary endpoints:
 3
            the Phase 2 (-019) study in patients with Alzheimer’s disease psychosis and the
 4          Phase 3 (-020) study in patients with Parkinson’s disease psychosis. The sNDA
            includes a large safety database from completed and ongoing studies representing
 5          over 1,500 patients with neurodegenerative disease. An estimated 8.0 million
            people in the United States are living with dementia, and studies suggest that
 6          approximately 30% of dementia patients, or 2.4 million people, have psychosis,
 7          commonly consisting of delusions and hallucinations. Approximately 1.2 million
            patients in the United States are currently treated for DRP and, of those treated,
 8          approximately two-thirds are treated with off-label anti-psychotics. In the fourth
            quarter of 2017, the FDA granted Breakthrough Therapy Designation for
 9          pimavanserin for the treatment of DRP.
10          28.     Appended to the 2Q20 10-Q as exhibits were signed certifications pursuant to the
11
     Sarbanes-Oxley Act of 2002 (“SOX”) by the Individual Defendants, attesting that, “the
12
     information contained in [the 2Q20 10-Q] fairly presents, in all material respects, the financial
13
     condition of the Company at the end of the period covered by the Report and results of operations
14

15   of the Company for the period covered by [the 2Q20 10-Q].”

16          29.     On November 4, 2020, Acadia filed a quarterly report on Form 10-Q with the SEC,

17   reporting the Company’s financial and operating results for the quarter ended September 30, 2020
18   (the “3Q20 10-Q”). The 3Q20 10-Q contained substantively the same statements as referenced in
19
     ¶ 27, supra, touting the pimavanserin sNDA.
20
            30.     Appended to the 3Q20 10-Q as exhibits were signed certifications pursuant to SOX
21
     by the Individual Defendants, attesting that, “the information contained in [the 3Q20 10-Q] fairly
22

23   presents, in all material respects, the financial condition of the Company at the end of the period

24   covered by the Report and results of operations of the Company for the period covered by [the

25   3Q20 10-Q].”
26
            31.     Corresponding with the 3Q20 10-Q, Acadia issued a press release announcing the
27
     Company’s third quarter 2020 financial results. The press release stated, in relevant part:
28
                                                      8
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.9 Page 9 of 23



 1          “This quarter we drove strong performance through the continued growth of new
            prescribers with more patients benefitting from NUPLAZID® treatment for their
 2          Parkinson’s disease psychosis and remain on-track with our supplemental NDA for
            the treatment of dementia-related psychosis with a PDUFA date of April 3, 2021,”
 3
            said Steve Davis, Acadia’s Chief Executive Officer. “We continue to advance our
 4          late-stage programs and invest in new opportunities through business development,
            highlighted by our recent acquisition of CerSci Therapeutics which expands our
 5          clinical pipeline with an innovative first-in-class, non-opioid, acute and chronic
            pain program.”
 6

 7          32.     That same day, Acadia hosted an earnings call with investors and analysts to discuss

 8   the Company’s third quarter 2020 results (the “3Q20 Earnings Call”). During the scripted portion

 9   of the 3Q20 Earnings Call, Defendant Davis stated, in relevant part:
10          We are well-prepared to achieve the long-term market opportunity for NUPLAZID
11          in PDP and look forward to the addition of the DRP indication.

12                                                  ***

13          We are excited that pimavanserin could be the first and only FDA approved
            medicine for the treatment of Dementia-related psychosis.
14

15                                                  ***

16          We are confident in both the efficacy and safety data supporting our supplemental
            NDA and we will continue to work with the FDA to facilitate their review with a
17          PDUFA date of April 3, 2021.
18          We continue to make important progress in our late stage development pipeline as
19          shown on slide eight, with but ongoing Phase 3 studies with pimavanserin for the
            treatment of negative symptoms of schizophrenia and with trofinetide for the
20          treartment of Rett Syndrome.

21          33.     On February 24, 2021, Acadia issued a press release announcing the Company’s
22
     fourth quarter and full year 2020 financial results. The press release stated, in relevant part:
23
            “Acadia delivered strong financial results in the fourth quarter and full year 2020,
24          driven by robust sales of NUPLAZID in Parkinson’s disease psychosis.
            Additionally, we made significant advancements in two Phase 3 programs and
25          further expanded our pipeline in pain and neuropsychiatry through strategic
            business development,” said Steve Davis, Chief Executive Officer. “In 2021, we
26
            are focused on delivering continued growth of NUPLAZID, the upcoming potential
27          approval and launch of pimavanserin for dementia-related psychosis and advancing
            our business development strategy.”
28
                                                       9
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.10 Page 10 of 23



 1          34.       That same day, Acadia hosted an earnings call with investors and analysts to discuss

 2   the Company’s fourth quarter and full year 2020 results (the “4Q20 Earnings Call”). During the
 3
     scripted portion of the 4Q20 Earnings Call, Defendant Davis stated, in relevant part:
 4
            Additional highlights from 2020 include our submission of an sNDA for DRP. The
 5          FDA review is progressing as expected, and we look forward to the potential
            NUPLAZID becoming the first and only approved treatment for this indication, and
 6          the first new treatment in the dementia space in over 15 years.
 7
                                                    ***
 8
            The significant potential of pimavanserin, combined with our clinical pipeline, will
 9          drive meaningful long-term growth. We continue to grow NUPLAZID sales, and
            based on our 2020 performance and current outlook, we’re providing net sales
10          guidance for PDP in fiscal year 2021 of $510 million to $550 million.
11
            We’re on the cusp of a potential approval in DRP, a significantly larger market
12          opportunity for which our teams have been preparing for approximately two years.
            We will be ready to execute on Day 1. In addition, we’re advancing our pipeline
13          with clinical trials across five separate indications.
14          35.       On February 25, 2021, Acadia filed an Annual Report on Form 10-K with the SEC,
15
     reporting the Company’s financial and operating results for the quarter and year ended December
16
     31, 2020 (the “2020 10-K”). The 2020 10-K stated, in relevant part:
17
            [W]e believe dementia-related psychosis (DRP), represents one of our most
18          important opportunities for further development. In June 2020, we submitted to the
19          FDA a supplemental New Drug Application (sNDA) for NUPLAZID for the
            treatment of hallucinations and delusions associated with DRP. In July 2020 the
20          FDA notified us of their filing of our sNDA with a Prescription Drug User Fee Act
            (PDUFA) target action date of April 3, 2021.
21
            36.       In addition, in a section discussing company strategy, the 2020 10-K stated, in
22

23   relevant part:

24          Our strategy is to identify, develop and commercialize innovative therapies that
            address unmet medical needs in CNS disorders. Key elements of our strategy are
25          to:
26
                                                    ***
27
                  x   Deliver pimavanserin to the market for the treatment of patients with
28                    dementia-related psychosis. In June 2020, we submitted an sNDA for
                                                       10
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.11 Page 11 of 23



 1                  NUPLAZID for the treatment of hallucinations and delusions associated
                    with DRP. Our PDUFA target action date is April 3, 2021. In preparation
 2                  for a potential U.S. launch, we plan to increase the U.S. sales force,
                    including expansion of additional commercial, medical affairs and general
 3
                    and administrative support functions prior to obtaining regulatory approval
 4                  for NUPLAZID in DRP. If approved, NUPLAZID will be the first and only
                    FDA-approved treatment for DRP.
 5
            37.     Appended to the 2020 10-K as exhibits were signed certifications pursuant to SOX
 6

 7   by the Individual Defendants, attesting that, “the information contained in [the 2020 10-K] fairly

 8   presents, in all material respects, the financial condition of the Company at the end of the period

 9   covered by the Report and results of operations of the Company for the period covered by [the
10   2020 10-K].”
11
            38.     The statements referenced in ¶¶ 23-37 were materially false and misleading because
12
     Defendants made false and/or misleading statements, as well as failed to disclose material adverse
13
     facts about the Company’s business, operations, and compliance policies.               Specifically,
14

15   Defendants made false and/or misleading statements and/or failed to disclose that: (i) the materials

16   submitted in support of the pimavanserin sNDA contained statistical and design deficiencies; (ii)

17   accordingly, the pimavanserin sNDA lacked the evidentiary support that the Company had led
18
     investors to believe it possessed; (iii) the FDA was unlikely to approve the pimavanserin sNDA in
19
     its present form; and (iv) as a result, the Company’s public statements were materially false and
20
     misleading at all relevant times.
21
                                         The Truth Begins to Emerge
22

23          39.     On March 8, 2021, post-market, Acadia issued a press release providing a

24   regulatory update on the pimavanserin sNDA, disclosing “that the Company received a notification
25   from the [FDA] on March 3, 2021, stating that, as part of its ongoing review of the Company’s
26
     [sNDA], the FDA has identified deficiencies that preclude discussion of labeling and post-
27
     marketing requirements/commitments at this time.” Acadia advised that “[t]he notification does
28
                                                     11
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.12 Page 12 of 23



 1   not specify the deficiencies identified by the FDA and there has been no clarification by the FDA

 2   at this time.”
 3
             40.      On this news, Acadia’s stock price fell $20.76 per share, or 45.35%, to close at
 4
     $25.02 per share on March 9, 2021.
 5
                                         The Truth Fully Emerges
 6
             41.      Then, on April 5, 2021, pre-market, Acadia issued a press release announcing that
 7

 8   the Company had received a CRL from the FDA indicating that the pimavanserin sNDA could not

 9   be approved in its current form. Specifically, the press release stated, in relevant part:
10           Despite prior agreements with the Division of Psychiatry regarding the pivotal
11           Phase 3 HARMONY study design targeting a broad DRP patient population
             analyzed as a single group, the Division, in the CRL, cited a lack of statistical
12           significance in some of the subgroups of dementia, and insufficient numbers of
             patients with certain less common dementia subtypes as lack of substantial evidence
13           of effectiveness to support approval.
14           The DRP pivotal HARMONY study met its prespecified primary and secondary
15           endpoints with robust and persuasive clinical and statistical superiority of
             pimavanserin over placebo, which was a prospectively agreed prerequisite for the
16           DRP indication. Statistical separation by dementia subgroups and certain minimum
             numbers of patients with specific subtypes were not among the prespecified
17           requirements.
18           “Acadia stands behind the robustly positive results from the pivotal Phase 3
19           HARMONY study and the prospectively agreed trial design and criteria for
             establishing efficacy in DRP. Over the entire course of the review, the Division did
20           not raise any concerns regarding the agreed upon study design, including the issues
             raised in the CRL,” said Steve Davis, Chief Executive Officer of Acadia. “We will
21           immediately request a Type A meeting to work with the FDA to address the CRL
             and determine an expeditious path forward for the approval of pimavanserin in
22
             DRP.”
23
             The Division also stated in the CRL that it considers the Phase 2 Alzheimer’s
24           disease psychosis study -019, a supportive study in the sNDA filing, to not be
             adequate and well controlled, citing that it was a single center study with no type I
25           error control of secondary endpoints in which certain protocol deviations occurred.
             The Company believes these observations impact neither the positive results on the
26
             study’s primary endpoint, nor the study’s overall conclusions of efficacy.
27
             There were no safety issues or concerns raised in the CRL.
28
                                                      12
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.13 Page 13 of 23



 1           42.     On this news, Acadia’s stock price fell $4.41 per share, or 17.23%, to close at

 2   $21.18 per share on April 5, 2021.
 3
             43.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline
 4
     in the market value of the Company’s securities, Plaintiff and other Class members have suffered
 5
     significant losses and damages.
 6
                            PLAINTIFF’S CLASS ACTION ALLEGATIONS
 7

 8           44.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

 9   Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise
10   acquired Acadia securities during the Class Period (the “Class”); and were damaged upon the
11
     revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein,
12
     the officers and directors of the Company, at all relevant times, members of their immediate
13
     families and their legal representatives, heirs, successors or assigns and any entity in which
14

15   Defendants have or had a controlling interest.

16           45.     The members of the Class are so numerous that joinder of all members is

17   impracticable. Throughout the Class Period, Acadia securities were actively traded on the
18   NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and can
19
     be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or
20
     thousands of members in the proposed Class. Record owners and other members of the Class may
21
     be identified from records maintained by Acadia or its transfer agent and may be notified of the
22

23   pendency of this action by mail, using the form of notice similar to that customarily used in

24   securities class actions.

25           46.     Plaintiff’s claims are typical of the claims of the members of the Class as all
26
     members of the Class are similarly affected by Defendants’ wrongful conduct in violation of
27
     federal law that is complained of herein.
28
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             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.14 Page 14 of 23



 1          47.       Plaintiff will fairly and adequately protect the interests of the members of the Class

 2   and has retained counsel competent and experienced in class and securities litigation. Plaintiff has
 3
     no interests antagonistic to or in conflict with those of the Class.
 4
            48.       Common questions of law and fact exist as to all members of the Class and
 5
     predominate over any questions solely affecting individual members of the Class. Among the
 6
     questions of law and fact common to the Class are:
 7

 8                x     whether the federal securities laws were violated by Defendants’ acts as alleged
                        herein;
 9
                  x     whether statements made by Defendants to the investing public during the Class
10
                        Period misrepresented material facts about the business, operations and
11                      management of Acadia;

12                x     whether the Individual Defendants caused Acadia to issue false and misleading
                        financial statements during the Class Period;
13

14                x     whether Defendants acted knowingly or recklessly in issuing false and misleading
                        financial statements;
15
                  x     whether the prices of Acadia securities during the Class Period were artificially
16                      inflated because of the Defendants’ conduct complained of herein; and
17
                  x     whether the members of the Class have sustained damages and, if so, what is the
18                      proper measure of damages.

19          49.       A class action is superior to all other available methods for the fair and efficient
20   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the
21
     damages suffered by individual Class members may be relatively small, the expense and burden
22
     of individual litigation make it impossible for members of the Class to individually redress the
23
     wrongs done to them. There will be no difficulty in the management of this action as a class action.
24

25          50.       Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

26   on-the-market doctrine in that:

27                x     Defendants made public misrepresentations or failed to disclose material facts
                        during the Class Period;
28
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             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.15 Page 15 of 23



 1                 x     the omissions and misrepresentations were material;
 2                 x     Acadia securities are traded in an efficient market;
 3
                   x     the Company’s shares were liquid and traded with moderate to heavy volume
 4                       during the Class Period;

 5                 x     the Company traded on the NASDAQ and was covered by multiple analysts;
 6
                   x     the misrepresentations and omissions alleged would tend to induce a reasonable
 7                       investor to misjudge the value of the Company’s securities; and

 8                 x     Plaintiff and members of the Class purchased, acquired and/or sold Acadia
                         securities between the time the Defendants failed to disclose or misrepresented
 9
                         material facts and the time the true facts were disclosed, without knowledge of
10                       the omitted or misrepresented facts.

11           51.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

12   presumption of reliance upon the integrity of the market.
13
             52.       Alternatively, Plaintiff and the members of the Class are entitled to the presumption
14
     of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.
15
     United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in
16
     their Class Period statements in violation of a duty to disclose such information, as detailed above.
17

18                                                  COUNT I

19    (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                         Against All Defendants)
20

21           53.       Plaintiff repeats and re-alleges each and every allegation contained above as if fully

22   set forth herein.

23           54.       This Count is asserted against Defendants and is based upon Section 10(b) of the
24   Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.
25
             55.       During the Class Period, Defendants engaged in a plan, scheme, conspiracy and
26
     course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,
27
     practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other
28
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             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.16 Page 16 of 23



 1   members of the Class; made various untrue statements of material facts and omitted to state

 2   material facts necessary in order to make the statements made, in light of the circumstances under
 3
     which they were made, not misleading; and employed devices, schemes and artifices to defraud in
 4
     connection with the purchase and sale of securities. Such scheme was intended to, and, throughout
 5
     the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,
 6
     as alleged herein; (ii) artificially inflate and maintain the market price of Acadia securities; and
 7

 8   (iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire Acadia

 9   securities and options at artificially inflated prices. In furtherance of this unlawful scheme, plan
10   and course of conduct, Defendants, and each of them, took the actions set forth herein.
11
            56.     Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the
12
     Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly
13
     and annual reports, SEC filings, press releases and other statements and documents described
14

15   above, including statements made to securities analysts and the media that were designed to

16   influence the market for Acadia securities. Such reports, filings, releases and statements were

17   materially false and misleading in that they failed to disclose material adverse information and
18   misrepresented the truth about Acadia’s finances and business prospects.
19
            57.      By virtue of their positions at Acadia, Defendants had actual knowledge of the
20
     materially false and misleading statements and material omissions alleged herein and intended
21
     thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants
22

23   acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

24   such facts as would reveal the materially false and misleading nature of the statements made,

25   although such facts were readily available to Defendants. Said acts and omissions of Defendants
26
     were committed willfully or with reckless disregard for the truth. In addition, each Defendant
27

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             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.17 Page 17 of 23



 1   knew or recklessly disregarded that material facts were being misrepresented or omitted as

 2   described above.
 3
             58.     Information showing that Defendants acted knowingly or with reckless disregard
 4
     for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers
 5
     and/or directors of Acadia, the Individual Defendants had knowledge of the details of Acadia’s
 6
     internal affairs.
 7

 8           59.     The Individual Defendants are liable both directly and indirectly for the wrongs

 9   complained of herein.      Because of their positions of control and authority, the Individual
10   Defendants were able to and did, directly or indirectly, control the content of the statements of
11
     Acadia. As officers and/or directors of a publicly-held company, the Individual Defendants had a
12
     duty to disseminate timely, accurate, and truthful information with respect to Acadia’s businesses,
13
     operations, future financial condition and future prospects. As a result of the dissemination of the
14

15   aforementioned false and misleading reports, releases and public statements, the market price of

16   Acadia securities was artificially inflated throughout the Class Period. In ignorance of the adverse

17   facts concerning Acadia’s business and financial condition which were concealed by Defendants,
18   Plaintiff and the other members of the Class purchased or otherwise acquired Acadia securities at
19
     artificially inflated prices and relied upon the price of the securities, the integrity of the market for
20
     the securities and/or upon statements disseminated by Defendants, and were damaged thereby.
21
             60.     During the Class Period, Acadia securities were traded on an active and efficient
22

23   market. Plaintiff and the other members of the Class, relying on the materially false and misleading

24   statements described herein, which the Defendants made, issued or caused to be disseminated, or

25   relying upon the integrity of the market, purchased or otherwise acquired shares of Acadia
26
     securities at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the
27
     other members of the Class known the truth, they would not have purchased or otherwise acquired
28
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             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.18 Page 18 of 23



 1   said securities, or would not have purchased or otherwise acquired them at the inflated prices that

 2   were paid. At the time of the purchases and/or acquisitions by Plaintiff and the Class, the true
 3
     value of Acadia securities was substantially lower than the prices paid by Plaintiff and the other
 4
     members of the Class. The market price of Acadia securities declined sharply upon public
 5
     disclosure of the facts alleged herein to the injury of Plaintiff and Class members.
 6
               61.   By reason of the conduct alleged herein, Defendants knowingly or recklessly,
 7

 8   directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

 9   promulgated thereunder.
10             62.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the
11
     other members of the Class suffered damages in connection with their respective purchases,
12
     acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure
13
     that the Company had been disseminating misrepresented financial statements to the investing
14

15   public.

16                                               COUNT II

17       (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)
18             63.   Plaintiff repeats and re-alleges each and every allegation contained in the foregoing
19
     paragraphs as if fully set forth herein.
20
               64.   During the Class Period, the Individual Defendants participated in the operation
21
     and management of Acadia, and conducted and participated, directly and indirectly, in the conduct
22

23   of Acadia’s business affairs. Because of their senior positions, they knew the adverse non-public

24   information about Acadia’s misstatement of income and expenses and false financial statements.

25             65.   As officers and/or directors of a publicly owned company, the Individual
26
     Defendants had a duty to disseminate accurate and truthful information with respect to Acadia’s
27

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               CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.19 Page 19 of 23



 1   financial condition and results of operations, and to correct promptly any public statements issued

 2   by Acadia which had become materially false or misleading.
 3
            66.     Because of their positions of control and authority as senior officers, the Individual
 4
     Defendants were able to, and did, control the contents of the various reports, press releases and
 5
     public filings which Acadia disseminated in the marketplace during the Class Period concerning
 6
     Acadia’s results of operations. Throughout the Class Period, the Individual Defendants exercised
 7

 8   their power and authority to cause Acadia to engage in the wrongful acts complained of herein.

 9   The Individual Defendants, therefore, were “controlling persons” of Acadia within the meaning of
10   Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct
11
     alleged which artificially inflated the market price of Acadia securities.
12
            67.     Each of the Individual Defendants, therefore, acted as a controlling person of
13
     Acadia. By reason of their senior management positions and/or being directors of Acadia, each of
14

15   the Individual Defendants had the power to direct the actions of, and exercised the same to cause,

16   Acadia to engage in the unlawful acts and conduct complained of herein. Each of the Individual

17   Defendants exercised control over the general operations of Acadia and possessed the power to
18   control the specific activities which comprise the primary violations about which Plaintiff and the
19
     other members of the Class complain.
20
            68.     By reason of the above conduct, the Individual Defendants are liable pursuant to
21
     Section 20(a) of the Exchange Act for the violations committed by Acadia.
22

23                                        PRAYER FOR RELIEF

24          WHEREFORE, Plaintiff demands judgment against Defendants as follows:
25          A.      Determining that the instant action may be maintained as a class action under Rule
26
     23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;
27

28
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             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.20 Page 20 of 23



 1          B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

 2   of the acts and transactions alleged herein;
 3
            C.      Awarding Plaintiff and the other members of the Class prejudgment and post-
 4
     judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and
 5
            D.      Awarding such other and further relief as this Court may deem just and proper.
 6
                                    DEMAND FOR TRIAL BY JURY
 7

 8          Plaintiff hereby demands a trial by jury.

 9   Dated: April 19, 2021                                   Respectfully submitted,
10                                                           POMERANTZ LLP
11                                                           /s/ Jennifer Pafiti
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                                                        20
             CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.21 Page 21 of 23



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 2                                              Attorneys for Plaintiff
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           CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.22 Page 22 of 23
                                                                                    Thursday, April 15, 2021

    Acadia (ACAD)



CERTIFICATION PURSUANT TO FEDERAL SECURITIES LAWS
1. ÁI make this declaration pursuant to Section 27(a)(2) of the Securities Act of 1933 (“Securities Act”)
and/or Section 21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange Act”) as amended by the
Private Securities Litigation Reform Act of 1995. Á

2.ÁI have reviewed a Complaint against Acadia Pharmaceuticals Inc. (“Acadia” or the “Company”) and
authorize the ¦ling of a motion on my behalf for appointment as lead plaintiff.

3.ÁÁ I did not purchase or acquire Acadia securities at the direction of plaintiffs counsel, or in order to
participate in any private action arising under the Securities Act or Exchange Act.

4. ÁÁÁÁI am willing to serve as a representative party on behalf of a Class of investors who purchased or
acquired Acadia securities during the class period, including providing testimony at deposition and trial,
if necessary.Á I understand that the Court has the authority to select the most adequate lead plaintiff in
this action.

5.Á The attached sheet lists all of my transactions in Acadia securities during the Class Period as
speci¦ed in the Complaint.

6.ÁÁ During the three-year period preceding the date on which this Certi¦cation is signed, I have not
sought to serve as a representative party on behalf of a class under the federal securities laws.

7.ÁÁÁÁ I agree not to accept any payment for serving as a representative party on behalf of the class as
set forth in the Complaint, beyond my pro rata share of any recovery, except such reasonable costs and
expenses directly relating to the representation of the class as ordered or approved by the Court.

8.ÁÁÁ I declare under penalty of perjury that the foregoing is true and correct.

Á


Name


Print Name
Denise Marechal

Signature




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Case 3:21-cv-00762-WQH-NLS Document 1 Filed 04/19/21 PageID.23 Page 23 of 23



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